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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION




 NATIONAL CHICKEN COUNCIL, et al.,                 §
                                                   §
                    Plaintiffs,                    §
                                                   §
                       vs.                         §
                                                   §              No. 4:24-cv-03786
                                                   §
 BROOKE ROLLINS, in her official capacity          §
 as SECRETARY OF AGRICULTURE, et al.,              §              Judge Andrew Hanen
                                                   §
                    Defendants,                    §
                                                   §
 and                                               §
                                                   §
RANCHERS CATTLEMEN ACTION                          §
LEGAL FUND UNITED STOCKGROWERS                     §
OF AMERICA, WESTERN                                §
ORGANIZATION OF RESOURCE                           §
COUNCILS, ALABAMA CONTRACT                         §
POULTRY GROWERS ASSOCIATION,                       §
AND LATINO FARMERS AND                             §
RANCHERS INTERNATIONAL,                            §
                                                   §
                     Proposed Defendant-           §
                     Intervenors                   §
                                                   §


       FARMER AND RANCHER ORGANIZATIONS’ MOTION TO INTERVENE AS
                            DEFENDANTS

        Ranchers Cattlemen Action Legal Fund United Stockgrowers of America, Western

Organization of Resource Councils, Alabama Contract Poultry Growers Association, and Latino

Farmers and Ranchers International (together, “Farmer and Rancher Organizations”), respectfully


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move for leave to intervene as of right under Federal Rule of Civil Procedure 24(a), or

alternatively, for permissive intervention under Rule 24(b). A proposed answer is attached as

Exhibit A. Counsel for Farmer and Rancher Organizations contacted counsel for Plaintiffs and

Government Defendants and were informed that they intend to oppose this Motion.

       This case, filed by the National Chicken Council, Meat Institute, Southwest Meat

Association, and Texas Broiler Council (together, “Plaintiffs”), challenges a United States

Department of Agriculture (“USDA”) regulation entitled Inclusive Competition and Market

Integrity under the Packers and Stockyards Act, 89 Fed. Reg. 16,092 (Mar. 6, 2024) (codified at 9

C.F.R. pt. 201) (“the Rule”). The Rule aims to protect farmers and ranchers that raise and sell

livestock and poultry from discriminatory, retaliatory, and deceptive conduct that currently

pervades livestock and live poultry markets, resulting in widespread harm to hardworking family

farmers. Farmer and Rancher Organizations are nonprofit membership organizations with

missions to serve and protect the interests of farming families by improving their market access

and economic opportunities. Because movants have a significant stake in this case and satisfy the

Rule 24 standards for both intervention as of right and permissive intervention, as explained in the

following Memorandum in Support, the Court should grant this Motion to Intervene.

                                        BACKGROUND

  I.   The Packers and Stockyards Act Was Enacted to Protect Farmers and Ranchers


       Congress enacted the Packers and Stockyards Act in 1921 to accomplish two related but

independent objectives: protect farmers and ranchers from meatpacking monopolies that were

subjecting them to unfair, deceptive, and discriminatory treatment that harmed their individual




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economic opportunities, and also to rein in the broader market harms the “Big Five” 1 were causing

to producers and consumers through their anticompetitive practices. H.R. Rep. No. 85-1048, at 1–

2 (1957) (describing the purpose of the Act as “assur[ing] fair competition and fair trade practices

in livestock marketing and in the meatpacking industry,” “safeguard[ing] farmers and ranchers

against receiving less than the true market value of their livestock,” and protecting “members of

the livestock marketing and meat industries from unfair, deceptive, unjustly discriminatory, and

monopolistic practices of competitors, large or small.” (emphasis added)); see also Fair and

Competitive Livestock and Poultry Markets, 89 Fed. Reg. 53,886, 53,889 (June 28, 2024)

(describing the “Big Five” meatpackers). To that end and in recognition that existing antitrust law

was insufficient to address the unique challenges of the meatpacking industry, Congress “[gave]

the Secretary of Agriculture complete inquisitorial, visitorial, supervisory, and regulatory power

over the packers, stockyards, and all activities connected therewith,” including the power to

“prevent abuses” and “redress [] any unfair practices or abuses” within the livestock sector. H.R.

Rep. No. 67–77, at 2 (1921) (emphasis added).

       The Act enumerates seven specific prohibitions aimed at addressing abuses in livestock

and poultry markets and maltreatment of producers. Section 202 makes it unlawful for packers,

swine contractors, and live poultry dealers to:

      (a) Engage in or use “any unfair, unjustly discriminatory, or deceptive practice or device”;

      (b) Make or give “any undue or unreasonable preference or advantage to any particular
          person or locality in any respect, or subject any particular person or locality to any undue
          or unreasonable prejudice or disadvantage in any respect”;




1
 The “Big Five” meatpacking corporations were Swift & Company, Armour & Company, Cudahy
Packing Company, Wilson & Company, and Morris & Company.

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     (c) Sell, transfer, purchase, or receive goods “for the purpose or with the effect of
         apportioning the supply” if such apportionment has “the tendence or effect of restraining
         commerce or creating a monopoly;”

     (d) Sell, transfer, purchase, or receive goods “for the purpose or with the effect of
         manipulating or controlling prices, or of creating a monopoly . . . or of restraining
         commerce”;

     (e) “Engage in any course of business or do any act for the purpose or with the effect of
         manipulating or controlling prices, or of creating a monopoly . . . or of restraining
         commerce”;

     (f) Conspire, combine, agree, or arrange to apportion territory or sales, or manipulate or
         control prices; or

     (g) Conspire, combine, agree, or arrange with any other person to do, or aid or abet the doing
         of, any act made unlawful by subdivisions (a), (b), (c), (d), or (e).

7 U.S.C. § 192(a)–(g). In passing these prohibitions, not only did Congress intend to exercise “the

fullest control of the packers and stockyards which the Constitution permits,” H.R. Rep. No. 67-

324, at 3 (1921), but also “to halt unfair trade practices in their incipiency, before harm has been

suffered.” IBP, Inc. v. Glickman, 187 F.3d 974, 977 (8th Cir. 1999) (quoting Farrow v. USDA, 760

F.2d 211, 215 (8th Cir. 1985)). It tasked USDA with carrying out this mandate by expressly

delegating the agency the authority to “make such rules, regulations, and orders as may be

necessary to carry out the provisions of [the Act],” and empowering the agency to engage in other

investigatory, adjudicatory, and regulatory activities. 7 U.S.C. §§ 227–228(a).

       Exercising this authority, USDA promulgated the at-issue Rule to define, clarify, and give

effect to the statutory text by prohibiting specific conduct as “unjustly discriminatory, or deceptive

practice[s] or device[s]” and/or “undue or unreasonable prejudice[s] or disadvantage[s].” See 89

Fed. Reg. at 16,112; 7 U.S.C. § 192(a)–(b). Based on an expansive record apparently spanning

more than 250,000 pages, see Defendants’ Unopposed Motion for Leave to File Index of the

Administrative Record, Dkt. No. 34, at 1, the Rule prohibits the adverse treatment of farmers and


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ranchers based on their race, color, national origin, sex, disability, marital status, age, or status as

a cooperative as constituting unjust discrimination under the Act. 9 C.F.R. § 201.304(a) (2024).

The Rule also prohibits packers from retaliating against farmers and ranchers for engaging in

protected business activities, including communicating with the government for redress of

grievances regarding abuses experienced in the course of their business operations, asserting their

contractual or Packers and Stockyards Act rights, participating in associations and cooperatives,

and exploring other business relationships. Id. § 201.304(b). Finally, the Rule prohibits packers

from using false or misleading statements or omitting material information when forming,

performing under, or terminating contracts with farmers or ranchers, or in refusing to contract with

the same. Id. § 201.306. USDA concluded that the above protections were critical and necessary

to achieving the Act’s dual goals of stopping pervasive abuse of farmers and ranchers and halting

broader market harms in their incipiency, just as Congress instructed. 89 Fed. Reg. at 16,118; IBP,

Inc., 187 F.3d at 977; Bowman v. USDA, 363 F.2d 81, 85 (5th Cir. 1966) (“[T]he Act is designed

to ‘. . . prevent potential injury by stopping unlawful practices in their incipiency.’” (quoting

Daniels v. United States, 242 F.2d 39, 42 (7th Cir. 1957)).

 II.    Interests of Farmer and Rancher Organizations

        Farmer and Rancher Organizations give voice to and advance the interests of livestock and

poultry producers across the United States. They represent the family famers that are the backbone

of America’s food system – independent cattle ranchers, “contract growers” (farmers that raise

hogs or poultry under specific and detailed contracts), small and medium sized feedlots, and the

few remaining independent processors. Recognizing that Congress understood their members’

plight by enacting the Packers and Stockyards Act and its amendments to protect family farms

from the very abuse that is now commonplace in livestock and poultry markets in the modern era




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of extreme consolidation, they advocate for better Packers and Stockyards Act protections for their

farmer and rancher members, including during promulgation of the Rule challenged here. See

Declaration of Bill Bullard (“Bullard Decl.”) ¶¶ 18–25; Declaration of Sara Kendall (“Kendall

Decl.”) ¶¶ 7–8. In short, Farmer and Rancher Organizations represent thousands of independent

producers that the Act and the Rule are designed to protect.

       Ranchers Cattlemen Action Legal Fund United Stockgrowers of America (“R-CALF”) is

the largest producer-only cattle trade association in the United States. R-CALF represents

producers across forty-two states in trade and marketing issues to ensure the continued profitability

and viability of independent U.S. cattle and sheep producers. For years, R-CALF has engaged in

legal and policy efforts to eliminate fundamentally unfair trade practices from livestock markets

and rebalance the disparate bargaining positions between livestock producers and highly

concentrated meatpackers. R-CALF has advanced this goal by advocating for stronger regulation

under and enforcement of the Packers and Stockyards Act to promote fairness and competition for

the benefit of livestock producers, growers, and consumers, and protect independent producers

from packers’ abusive market conduct. See Bullard Decl. ¶¶ 4, 6, 18.

       Western Organization of Resource Councils (“WORC”) is a network of grassroots

organizations working to protect and support family farms and sustainable agriculture, land and

water resources, and civic engagement. WORC’s members include farmers, ranchers, and small

business owners across numerous states and tribal reservations. WORC’s mission is to advance

the vision of a democratic, sustainable, and just society through community action and policy

advocacy, and it is committed to building sustainable environmental and economic communities

that balance economic growth with the health of people and stewardship of their land and

environmental resources. This includes advocating for common-sense reform in livestock markets




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and rural economic development, including decades of advocacy related to strengthening Packers

and Stockyards Act protections for livestock and poultry producers. Kendall Decl. ¶¶ 4–5, 7.

        Alabama Contract Poultry Growers Association (the “Association”) is a membership-

based, 501(c)(5) tax-exempt Agricultural Marketing Association founded in 1992 to work for fair

treatment and better contracts for contract poultry growers. The Association’s mission is to make

the poultry industry stronger, more efficient, and more economical by representing the interests of

poultry producers throughout Alabama, providing members with benefits to assist in their poultry

growing efforts, and speaking out publicly about the unfair and abusive treatment that contract

growers suffer at the hands of powerful poultry processing companies. Declaration of Jonathan

Buttram (“Buttram Decl.”) ¶¶ 3–6.

        Latino Farmers and Ranchers International (“LFRI”) is a network of multi-ethnic, small to

medium sized farmers and ranchers that come together in collaboration with other farmer and

rancher organizations nationwide. The organization’s mission is to assist and advocate for farmers

and ranchers that have been historically discriminated against. To accomplish this, LFRI works in

rural communities across the United States and beyond to organize, educate, and empower its

members by connecting them with the resources and opportunities they need to thrive. Declaration

of Rudy Arredondo (“Arredondo Decl.”) ¶¶ 4–5.

                       STATEMENT OF THE ISSUE TO BE RULED UPON

        The issue before the Court is whether Farmer and Rancher Organizations meet the standard

for intervention as of right, or alternatively, the standard for permissive intervention into this

matter. Because Farmer and Rancher Organizations satisfy the standards of both intervention as of

right and permissive intervention, the Court should grant this Motion to Intervene.

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         STATEMENT OF THE NATURE AND STAGE OF THE PROCEEDING

       Plaintiffs filed this action on October 4, 2024, challenging USDA’s issuance of the Rule

under the Administrative Procedure Act and seeking an order vacating the Rule and enjoining its

enforcement. See Complaint, Dkt. No. 1. On January 6, 2025, the Court suspended Government

Defendants’ deadline to file an Answer to the Complaint and, finding discovery unwarranted in

this administrative record case, set a summary judgment briefing schedule. Dkt. No. 30. On

February 10, 2025, and before briefing began, Government Defendants filed a motion to stay

briefing so that they could “evaluate their position in this case and determine how best to proceed”

in light of new policy directives. Dkt. No. 32 at 1. The Court granted Government Defendants’

request and ordered the parties to file a joint status report by April 11, 2025, addressing how they

would like to proceed. Dkt. No. 36.

                                 SUMMARY OF ARGUMENT

       Farmer and Rancher Organizations respectfully request the Court grant their intervention

because they meet the requirements for intervention as of right under Rule 24(a), or, in the

alternative, should be allowed permissive intervention under Rule 24(b). Farmer and Rancher

Organizations satisfy Rule 24(a) because: the Motion is timely, filed before any merits briefing or

even responsive pleadings from Government Defendants; they have a sufficient interest because,

among other reasons, they are the “intended beneficiaries of the challenged federal policy,” Texas

v. United States, 805 F.3d 653, 660 (5th Cir. 2015); their interest would be impaired by the stare

decisis effect of an adverse judgment vacating the Rule’s protections; and their interests are not

adequately represented by an existing party because, among other reasons, they are narrower than

Government Defendants’ interests and the Government’s request for a stay calls into question

whether it will defend the Rule. Thus, Farmer and Rancher Organizations meet the requirements




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of intervention as of right. If the Court finds otherwise, Farmer and Rancher Organizations should

be allowed permissive intervention because their motion is timely and their involvement will not

unduly delay or prejudice the rights of existing parties. Conversely, excluding farmers and ranchers

from this case that could strip them of critical protections would be unjust.

                                           ARGUMENT

     I.   FARMER AND RANCHER ORGANIZATIONS SATISFY THE REQUIREMENTS
          TO INTERVENE AS OF RIGHT

          Federal Rule of Civil Procedure 24(a)(2) provides that “[o]n timely motion, the court must

permit anyone to intervene who . . . claims an interest relating to the property or transaction that is

the subject of the action, and is so situated that disposing of the action may as a practical matter

impair or impede the movant’s ability to protect its interest, unless existing parties adequately

represent that interest.” Fed. R. Civ. P. 24(a)(2). The Fifth Circuit interprets Rule 24(a) as

establishing four elements for intervention as of right: (1) the application is timely; (2) the

applicant has an interest relating to the property or transaction which is the subject of the action;

(3) the disposition of that case may impair or impede the applicant’s ability to protect that interest;

and (4) the applicant’s interest may be inadequately represented by the existing parties to the suit.

Wal-Mart Stores, Inc. v. Tex. Alcoholic Bev. Comm’n, 834 F.3d 562, 565 (5th Cir. 2016).

Generally, intervention does not require a party to establish Article III standing, but it may be

required when an intervenor seeks “relief that is different from that which is sought by a party with

standing.” Town of Chester v. Laroe Ests., Inc. 581 U.S. 433, 440 (2017). The Fifth Circuit has

explained this Rule “is to be liberally construed” and courts “should allow intervention when no

one would be hurt and the greater justice could be attained.” Wal-Mart, 834 F.3d. at 565.

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   A. The Motion Is Timely

       Courts consider four factors when determining whether a motion to intervene is timely: (1)

the length of time the intervenor knew of its interest in the case; (2) the extent of prejudice against

the existing parties caused by any delay on intervenor’s part; (3) the extent of prejudice against the

intervenor if denied intervention; and (4) unusual circumstances that militate for or against whether

the motion was timely. St. Bernard Par. v. Lafarge N. Am., Inc., 914 F.3d 969, 974 (5th Cir. 2019).

The Fifth Circuit has further clarified that the first timeliness factor should be judged by “the speed

with which the would-be intervenor acted when it became aware that its interests would no longer

be protected by the original parties.” Sierra Club v. Espy, 18 F.3d 1202, 1206 (5th Cir. 1994).

       Here, this motion is timely under all four factors. On the first, Farmer and Rancher

Organizations promptly filed this Motion less than two months after USDA’s February 10, 2025,

filing seeking a stay in briefing to reevaluate its position on defending the Rule. This was Farmer

and Rancher Organizations’ first clear indication that USDA may not intend to protect their

interests. See Dkt. No. 32; see also Espy, 18 F.3d at 1206 (finding motion timely when made within

two months of becoming aware that interests were affected); Edwards v. City of Houston, 78 F.3d

983, 1000–01 (5th Cir. 1996) (collecting cases). Second, existing parties will experience no

prejudice due to delay because intervention will not cause any delay in the case. Farmer and

Rancher Organizations agree with the parties and Magistrate Judge Ho’s finding that no discovery

is warranted in this administrative record case. See Order Setting Briefing Schedule, Dkt. No. 30.

Since no discovery is warranted, intervention will not delay proceedings by seeking discovery.

Moreover, movants will abide by any future summary judgment briefing schedule the Court may

set following the parties’ April 11, 2025, joint status report. As to the third factor, Farmer and

Rancher Organizations will suffer severe prejudice if denied the opportunity to intervene because




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the litigation seeks to undo their advocacy and strip their members of critical economic protections

under the Packers and Stockyards Act. See Espy, 18 F.3d at 1207 (finding intervenors with

“economic interests” affected by litigation would be prejudiced if denied the opportunity to

intervene). Finally, no “unusual circumstances” exist that would counsel against intervention. For

these reasons, this motion is timely.

     B. Farmers and Ranchers Have a Protectable Interest Related to This Case

        To determine whether an intervenor has a sufficient interest related to the controversy, the

“touchstone of the inquiry is whether the interest alleged is ‘legally protectable.’” Wal-Mart, 834

F.3d at 566. “[A]n interest is sufficient if it is of the type that the law deems worthy of protection,

even if the intervenor does not have an enforceable legal entitlement or would not have standing

to pursue her own claim.” Texas v. United States, 805 F.3d 653, 659 (5th Cir. 2015). 2

        It is well-established in this Circuit that the intended beneficiaries of a government

regulation possess a legally protectable interest sufficient to intervene and defend against a

challenge to that regulation. See, e.g., Wal-Mart, 834 F.3d at 566 (trade association had interest

justifying intervention where it sought to defend the regulatory scheme governing its members);

Texas, 805 F.3d at 659 (“intended beneficiaries of the challenged federal policy” had a sufficient

interest to intervene); Sierra Club v. Glickman, 82 F.3d 106, 109 (5th Cir. 1996) (farm group had

sufficient interest to intervene in defense of USDA action benefiting its members). Farmer and

Rancher Organizations’ members are the direct beneficiaries of the challenged Rule, which aims

to protect them against certain discriminatory, retaliatory, and deceptive conduct that impairs the

livestock and poultry markets in which they participate. Bullard Decl. ¶¶ 11–17, 26–27 (explaining


2
  Here, as explained below, Farmer and Rancher Organizations have standing and thus plainly
have a legally protectable interest at stake. Wal-Mart, 834 F.3d at 566 n.3 (“We have previously
suggested that ‘a movant who shows standing is deemed to have a sufficiently substantial interest
to intervene.’”).

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how the Rule protects its members from unfair and abusive treatment); Arredondo Decl. ¶¶ 14–18

(discussing how Rule’s prohibition against discrimination protects its members and constituents);

Buttram Decl. ¶¶ 5, 17–18 (describing deceptive and retaliatory practices experienced by poultry

grower members now prohibited by Rule); Kendall Decl. ¶¶ 9–16 (discussing critical protections

Rule provides to members). Movants, thus, possess a legally protectable interest more than

sufficient to justify intervention here.

        Additionally, Farmer and Rancher Organizations have a long history of advocating for

stronger Packers and Stockyard Act protections for their members, including by engaging in the

rulemaking process for the challenged Rule, which further underscores their interest in upholding

a Rule that represents the culmination of their efforts. Where intervenor organizations played a

role in securing the very regulation they now seek to defend, they “demonstrate[] a particular

interest in cementing their [] victory.” City of Houston v. Am. Traffic Sols., Inc., 668 F.3d 291, 294

(5th Cir. 2012). Farmer and Rancher Organizations have been working for decades to revitalize

the Packers and Stockyards Act through better enforcement and regulation. For example, these

groups have a thirty-year history of engaging with USDA to secure meaningful regulatory

protections against unfair, discriminatory, and deceptive practices prohibited by the Packers and

Stockyards Act and strengthen their members’ ability to vindicate those rights through private

enforcement actions. See Bullard Decl. ¶¶ 18–25; Buttram Decl. ¶ 6; Kendall Decl. ¶¶ 7–8.

        Moreover, Farmer and Rancher Organizations’ advocacy efforts with respect to the Rule

at issue directly impacted the USDA’s decision-making process, resulting in measurable

improvements between the proposed and final versions of the regulatory text. For instance, USDA

explicitly credited public comments submitted by proposed-intervenors R-CALF and WORC,

among others, as the impetus for expanding the Rule’s protections against retaliation in response




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to communicating, negotiating, or contracting with a regulated entity, another covered producer,

or with a commercial entity or consultant for the purpose of exploring or entering into a business

relationship. See 89 Fed. Reg. at 16,116, n.98. The agency also adopted their recommendation to

add a “catch-all” provision prohibiting other retaliatory actions not specifically enumerated in the

Rule. See id. at 16,116–17. Accordingly, Farmer and Rancher Organizations have a special interest

in defending their gains during the regulatory process. See City of Houston, 668 F.3d at 294.

     C. This Case’s Disposition May Impair Farmer and Rancher Organizations’ Interests

        The Fifth Circuit has held that “the stare decisis effect of an adverse judgment constitutes

a sufficient impairment to compel intervention.” Glickman, 82 F.3d at 109–10. This is true here.

An adverse resolution of this action would hamper Farmer and Rancher Organizations’ members’

ability to assert the protections conferred by the Rule, and thus substantially impair their ability to

vindicate their rights under the Packers and Stockyards Act.

     D. Existing Parties May Not Adequately Represent Farmer and Rancher Interests

        An intervenor must show that its “interests are not adequately represented by [an existing

party].” La Union del Pueblo Entero v. Abbott, 29 F.4th 299, 307 (5th Cir. 2022). However, this

requirement is “minimal,” because an intervenor “‘need not show that the representation by

existing parties will be, for certain, inadequate,’ but instead that it may be inadequate.” Id. at 307–

08 (quoting Texas, 805 F.3d at 661). Nevertheless, the Fifth Circuit has created two presumptions

of adequate representation that intervenors must overcome when applicable: (1) when “the would-

be intervenor has the same ultimate objective as a party to the lawsuit,” and (2) when “the putative

representative is a governmental body or officer charged by law with representing the interests of

the [intervenor].” Edwards, 78 F.3d at 1005. 3 Both of these presumptions can be overcome by a


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 This second presumption is not applicable here, because the Fifth Circuit has clarified that its
application is limited to litigation focused on matters of sovereign interest, which are not at issue

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showing of “adversity of interest.” Id.; see also Texas, 805 F.3d at 662 (“In order to show adversity

of interest, an intervenor must demonstrate that its interests diverge from the putative

representative’s interests in a manner germane to the case.”).

       Though the Government has yet to file a responsive pleading or merits brief articulating its

objective or arguments, its recent request to stay briefing indicates that it may not share

intervenors’ interest in vigorously defending the Rule. In February, Government Defendants filed

a consent motion to stay briefing so that they could “evaluate their position in this case and

determine how best to proceed” in light of the Executive Order entitled Ending Radical and

Wasteful Government DEI Programs and Preference, which directs agencies to “recommend

actions . . . to align agency or department programs, . . . regulations, . . . and litigating positions

with the policy of equal dignity and respect.” See Dkt No. 32, at 1. That the Government is

contemplating a change of course in response to this Executive Order—indeed that it suggests this

Rule falls within its scope, a point on which Farmer and Rancher Organizations would not agree—

strongly signals it may not share in Farmer and Rancher Organizations’ objective to fully defend

and uphold the Rule. Such a position would render the first presumption either entirely inapplicable

or, at minimum, overcome by the Government Defendants’ divergent interest. Farmer and Rancher

Organizations have a narrower interest than Government Defendants’ because they have no need

or interest in aligning their litigation position with this Executive Order. They are only interested

in protecting their members economic interests and livelihoods through a vigorous defense of the

Rule. See Brumfield v. Dodd, 749 F.3d 339, 346 (5th Cir. 2014) (finding intervenors’ interest

sufficiently divergent from government where they only sought to keep their at-issue school



in this case. See Entergy Gulf States La., LLC v. EPA, 817 F.3d 198, 203 n.2 (5th Cir. 2016);
Edwards, 78 F.3d at 1005. However, even if this presumption applied, it is overcome by the same
divergent interests movants discuss in the context of the same-ultimate-objective presumption.

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vouchers and did not share in State’s other interest in maintaining a relationship with federal

government or courts). The Government Defendants’ interest in advancing the new

administration’s other policies and priorities unrelated to protecting livestock and poultry

producers, and to that end possibly reversing course in this litigation, sufficiently shows its

representation “may” be inadequate and justifies intervention. See Texas, 805 F.3d at 663 (finding

proposed intervenors need only show the “particular ways in which their interests diverge” and

how “these divergent interests have impacted the litigation.”).

       And even absent the Executive Order, USDA’s historical efforts to secure and defend

robust protections for farmers and ranchers under the Packers and Stockyards Act indicates there

are other ways that Proposed Intervenors’ interests diverge from those of Government Defendants.

Farmer and Rancher Organizations have been working to secure better protections for farmers and

ranchers under the Packers and Stockyards Act for over thirty years, at times in direct opposition

to USDA actions. Notably, some of the Farmer and Rancher Organizations were at odds with

certain policy decisions made by USDA during President Trump’s first administration, including

the withdrawal of an interim final rule that sought to define per se violations of unfair, unjustly

discriminatory, and deceptive practices—much like the Rule at issue here—see Scope of Sections

202(a) and (b) of the Packers and Stockyards Act, 82 Fed. Reg. 48,594 (Oct. 18, 2017), and its

replacement with a rule that left farmers and ranchers vulnerable to abusive treatment. See Undue

and Unreasonable Preferences and Advantages Under the Packers and Stockyards Act, 85 Fed.

Reg. 79,779 (Dec. 11, 2020); Bullard Decl. ¶¶ 20, 22 (opposing rescission and replacement of

Farmer Fair Practices Rule); Buttram Decl. at ¶ 6 (filing lawsuit challenging USDA’s rescission

of the Farmer Fair Practices Rule); Kendall Decl. ¶ 7 (describing opposition to 2020 Rule that

made it harder for farmers and ranchers to protect their interests in court). This recent history




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shows that Farmer and Rancher Organizations’ interests diverge from those of Government

Defendants. See Mausolf v. Babbitt, 85 F.3d 1295, 1303 (8th Cir. 1996) (finding applicant’s

interest in defending regulation not adequately represented by government where there was a

“well-documented history” of government failure to issue or enforce protective regulations).

Therefore, Farmer and Rancher Organizations satisfy the requirements for intervention as of right.

   E. Farmer and Rancher Organizations Have Article III Standing

       It is unclear whether Farmer and Rancher Organizations will need to establish Article III

standing in this matter because Government Defendants have not stated their position on defending

the Rule and standing is only required when an intervenor seeks “relief that is different from that

which is sought by a party with standing.” Banks v. St. James Par. Sch. Bd., 757 F. App’x 326,

329 (5th Cir. 2018) (quoting Town of Chester, 581 U.S. at 440). Regardless, Farmer and Rancher

Organizations have Article III standing if they seek to uphold the Rule and the Government

Defendants do not. An organization has standing to participate in a lawsuit on behalf of its

members where (1) its members would otherwise have standing to sue in their own right; (2) the

interests it seeks to protect are germane to the organization’s purpose, and (3) neither the claim

asserted nor the relief requested requires the participation of individual members in the lawsuit.

Cooper v. Tex. Alcoholic Beverage Comm’n, 820 F.3d 730, 737 (5th Cir. 2016).

       First, Farmer and Rancher Organizations’ members have standing to sue in their own right.

Standing requires a party to show a concrete injury, a causal relationship between the injury and

the conduct complained of, and that a ruling in their favor likely would redress that injury. See

Louisiana v. Haaland, 86 F.4th 663, 666 (5th Cir. 2023). Movants’ members meet the injury-in-

fact requirement because the regulation this action seeks to enjoin provides them with critical

protections against unfair trade practices that would otherwise harm their business operations and




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livelihoods. Bullard Decl. ¶¶ 13–17, 26–27; Arredondo Decl. ¶¶ 14, 16–20; Buttram Decl. ¶¶ 11–

19; Kendall Decl. ¶¶ 9–14, 16. See also Cooper, 820 F.3d at 737 (finding members had standing

to defend a licensing law that benefited their business). Further, Farmer and Rancher

Organizations’ members easily satisfy the traceability and redressability elements of standing

because loss of the Rule’s protections would be the direct result of a ruling in favor of Plaintiffs

and/or Government Defendants failing to vigorously defend the Rule. Successfully defending the

Rule would redress that injury. See Tex. Med. Ass’n v. U.S. Health & Hum. Servs., 110 F.4th 762,

773 (5th Cir. 2024) (explaining that when a party is “an object of a regulation,” there is little

question that the regulation’s action or inaction “has caused him injury, and that a judgment

preventing or requiring the action will redress it”).

       Second, protecting economic interests of farmers and ranchers and opposing abusive

corporate practices that threaten them is core to Farmer and Rancher Organizations’ missions and

work, and thus the interests in this case are germane to the Organizations’ purposes. Bullard Decl.

¶¶ 16, 12, 18–25; Arredondo Decl. ¶¶ 4, 9–13; Buttram Decl. ¶¶ 4–6; Kendall Decl. ¶¶ 4–8. Finally,

defending the Rule does not require the individual participation of any members. See Ass’n of Am.

Physicians & Surgeons, Inc. v. Tex. Med. Bd., 627 F.3d 547, 551 (5th Cir. 2010) (finding actions

for declaratory and injunctive relief generally do not require the participation of individual

members). As such, Farmer and Rancher Organizations have Article III standing.

 II.   ALTERNATIVELY, FARMER AND RANCHER ORGANIZATIONS SHOULD BE
       GRANTED PERMISSIVE INTERVENTION

       If the Court declines to grant Farmer and Rancher Organizations intervention as of right,

the proposed intervenors request the Court permit them to intervene in the alternative. Rule 24(b)

provides that “[o]n timely motion, the court may permit anyone to intervene who . . . has a claim

or defense that shares with the main action a common question of law or fact.” Fed. R. Civ. P.


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24(b)(1)(B). The Court has wide latitude to grant permissive intervention, and has found it

appropriate to grant such requests when “(1) timely application is made by the intervenor, (2) the

intervenor’s claim or defense and the main action have a question of law or fact in common, and

(3) intervention will not unduly delay or prejudice the adjudication of the rights of the original

parties.” Transatlantic Commodities PTE Ltd v. Hanwin Shipping Ltd., No. 4:22-cv-1983, 2024

WL 4535472, at *5 (Sept. 24, 2024) (internal citations and quotations omitted).

       Here, the Court should permit Farmer and Rancher Organizations to intervene. As

discussed above, this case is in its early stages and Farmer and Rancher Organizations also acted

promptly at the first indication their interests may not be protected by Government Defendants.

Moreover, Farmer and Rancher Organizations seek to defend the Rule’s legality, which is the focus

of this case, thus providing a “common question of law [and] fact.” Because Farmer and Rancher

Organizations would raise issues directly responsive to Plaintiffs’ claim, they would necessarily

“assert a claim or defense in common with the main action.” Finally, as Farmer and Rancher

Organizations will abide by whatever schedule the Court may set to manage this case going

forward, their intervention will cause no delay or prejudice to the parties. On the other hand, it

would be unjust to exclude Farmer and Rancher Organizations from this case, which could strip

their members of critical and hard-won protections.

                                        CONCLUSION

       For the foregoing reasons, Farmer and Rancher Organizations respectfully request the

Court grant them intervention as of right under Rule 24(a), or, in the alternative, permissive

intervention under Rule 24(b).



Dated: April 1, 2025



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                                              Respectfully Submitted,

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                             CERTIFICATE OF CONFERENCE

       I certify that I conferred with Plaintiffs and Defendants. Plaintiffs and Defendants have
advised the Proposed Defendant-Intervenors that they oppose this Motion to Intervene.


                                                                    /s/ Tyler Lobdell


                                CERTIFICATE OF SERVICE

        I hereby certify that on April 1, 2025, I electronically filed the foregoing document
entitled Farmer and Rancher Organizations’ Motion to Intervene as Defendants. Copies will be
served upon counsel of record, and may be obtained through, the Court’s CM/ECF system.

                                                                    /s/ Tyler Lobdell




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